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 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
13                Plaintiffs,                     GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
14         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
15   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
16                                                SHOULD BE FILED UNDER SEAL [RE
                  Defendants.                     DOCKET NO. 490]
17
                                                  Judge: Hon. Phyllis J. Hamilton
18
                                                  Action Filed: 10/29/2019
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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                               Case No. 4:19-cv-07123-PJH
       STATEMENT [DKT. 490]
     Case 4:19-cv-07123-PJH          Document 500        Filed 12/30/24      Page 2 of 5




 1            Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be

 4   Filed Under Seal (“Administrative Motion”) (Dkt. 490). Plaintiffs identify portions of their

 5   Motion to Strike the Second Supplemental Rebuttal Expert Report of Gregory A. Pinsonneault

 6   (the “Motion to Strike”) and certain exhibits to the Declaration of Luca Marzorati in Support of

 7   the Motion to Strike (“Marzorati Declaration”) (collectively, the “Materials”) as containing

 8   references to documents that Defendants have designated as confidential pursuant to the Stipulated

 9   Protective Order (Dkt. No. 132). Defendants provide their position regarding sealing of the

10   Materials below.

11   I.       LEGAL STANDARDS

12            Although courts recognize a general right to inspect and copy public records, “access to

13   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

14   (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

15   materials are to the merits of the case. “A party seeking leave to file documents under seal in

16   conjunction with a non-dispositive motion” need only show “good cause exists to file the

17   information under seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH,

18   2018 WL 2392561, at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause”

19   standard, the relevant inquiry is “whether good cause exists to protect the information from being

20   disclosed to the public by balancing the needs for discovery against the need for confidentiality.”

21   Wells Fargo & Co. v. ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D.

22   Cal. Mar. 8, 2013) (Hamilton, J.). Here, the Materials are not filed in connection with a dispositive

23   motion. Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires

24 only “a particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

25   Kamakana, 447 F.3d at 1180.

26   II.      DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

27            As an initial matter, Defendants do not contend that Exhibit A to the Marzorati Declaration

28   requires sealing. In addition, Defendants do not contend that highlighted portions of the Motion
          DEFENDANTS’ LOCAL RULE 79-5(F)(3)              1                      Case No. 4:19-cv-07123-PJH
          STATEMENT [DKT. 490]
     Case 4:19-cv-07123-PJH          Document 500         Filed 12/30/24   Page 3 of 5




 1   to Strike other than specific portions discussed below require sealing.

 2          As shown below, however, good cause exists warranting sealing of the remaining Materials

 3   identified in Plaintiffs’ Administrative Motion. Accordingly, the Court should grant Plaintiffs’

 4   Administrative Motion in part and maintain those Materials under seal.

 5          Certain portions of Plaintiffs’ Motion to Strike (Dkt. 490-3). The following highlighted

 6   portions of Plaintiffs’ Motion to Strike should remain under seal:

 7              •   Page 3, lines 10–11 (text beginning with “between” and ending prior to the “Id.

 8                  ¶ 8” citation) and lines 20–21 (text beginning with “between” and ending prior to

 9                  the “Id. ¶ 127” citation);

10              •   Page 7, lines 17–18 (text beginning with “NSO has” and ending prior to the “See”

11                  citation); and

12              •   Page 8, lines 7–8 (text beginning with “Pegasus” and ending with “2020.”)

13          The above portions of the Motion to Strike appearing at page 3 thereof reflect confidential

14 and commercially sensitive financial data, the public disclosure of which could harm NSO

15 competitively. See, e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL

16   984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing, profit, and customer usage information, when

17   kept confidential by a company, is appropriately sealable under the ‘compelling reasons’ standard

18   where that information could be used to the company’s competitive disadvantage”); Hyundai

19   Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL 11638962, at *1 (D. Nev. June 20, 2019)

20   (finding “[c]ompelling reasons justifying sealing court records generally exist” when such files

21   contain “business information that might harm a litigant’s competitive standing.”); In re Sony

22 Gaming Networks & Customer Data Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan.

23 20, 2015) (granting motion to file under seal where “harm could result to Defendants’ business

24 operations” if the information were disclosed); In re Qualcomm Litig., 2017 WL 5176922, at *2

25 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established compelling reasons to file under

26 seal records that implicate “confidential business information” subject to confidentiality

27 agreements).

28          The above portions of the Motion to Strike appearing at pages 7 and 8 thereof reflect
       DEFENDANTS’ LOCAL RULE 79-                     2                        Case No. 4:19-cv-07123-PJH
       5(F)(3) STATEMENT [DKT. 490]
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 1   confidential information that is subject to foreign law restrictions on public disclosure that this

 2   Court has recognized warrants sealing. See, e.g., Transcript of November 7, 2024 Hearing [Dkt.

 3   464] at 93–94.

 4             Accordingly, good cause exists to seal the above highlighted portions of the Motion to

 5   Strike.

 6             The Pinsonneault Rebuttal Reports and Deposition Excerpts (Marzorati Decl. Exhs. B-

 7   D). The Pinsonneault Rebuttal Reports attached as Exhibits B and D to the Marzorati Declaration

 8   and excerpts of the Pinsonneault deposition transcript attached as Exhibit C to the Marzorati

 9 Declaration contain discussion of material and information that is subject to foreign law

10 restrictions on public disclosure (as discussed above) and confidential and competitively sensitive

11 technical, financial and other business information of Defendants, the public disclosure of which

12 could harm Defendants, which warrants sealing of these materials for reasons discussed above.

13 See also Hyundai Motor, 2019 WL 11638962, at *1; Finjan, Inc. v. Proofpoint, Inc., 2016 WL

14   7429304, at *2 (N.D. Cal. Feb. 9, 2016) (recognizing “compelling reasons to seal . . . information

15   about the technical operation of the products, financial revenue data, and excerpts from expert

16   depositions [and] expert report[s]”); Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL

17   706975, at *1 (N.D. Cal. Feb. 26, 2013) (“proprietary information concerning [a party’s]

18   technology and internal business operations” and “descriptions of [a party’s] proprietary

19   technology” warrant sealing).

20 III.        CONCLUSION

21             For the reasons set forth above, good cause exists to seal Exhibits B-D to the Marzorati

22   Declaration [Dkt. 490-4] and the following portions of the Motion to Strike [Dkt. 490-3]: Page 3,

23   lines 10–11 (text beginning with “between” and ending prior to the “Id. ¶ 8” citation) and lines

24   20–21 (text beginning with “between” and ending prior to the “Id. ¶ 127” citation); Page 7, lines

25   17–18 (text beginning with “NSO has” and ending prior to the “See” citation); and Page 8, lines

26   7–8 (text beginning with “Pegasus” and ending with “2020.”).            Accordingly, Defendants

27   respectfully request that the Court grant Plaintiffs’ Administrative Motion in part and order the

28   foregoing Materials to be kept under seal.
       DEFENDANTS’ LOCAL RULE 79-                     3                       Case No. 4:19-cv-07123-PJH
       5(F)(3) STATEMENT [DKT. 490]
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 1   DATED: December 30, 2024                  KING & SPALDING LLP
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       DEFENDANTS’ LOCAL RULE 79-              4                      Case No. 4:19-cv-07123-PJH
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